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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Vv. Criminal No. 17-00046 (RBW)
KASSIM TAJIDEEN,
Defendant.

CONSENT ORDER OF FORFEITURE

WHEREAS, a written plea agreement was filed with this Court for consideration under
Federal Rule of Criminal Procedure 11(c)(1)(C) in which defendant Kassim Tajideen has agreed
to plead guilty to Count Eleven of the Superseding Indictment, charging the offense of Conspiracy
to Launder Monetary Instruments, in violation of Title 18, United States Code, Section 1956(h);

WHEREAS, the Superseding Indictment gives notice that the government seeks forfeiture |
of property, that is, the forfeiture of any property, real or personal, involved in the offense alleged
in Count Eleven, and any property traceable to such property, which property is subject to forfeiture .
pursuant to Title 18, United States Code, Section 982(a)(1);

WHEREAS, the Superseding Indictment gives notice that the United States will also seek
a forfeiture money judgment against the defendant equal to the value of any property, real or
personal, involved in the offense alleged in Count Eleven, and any property traceable to such
property, which property is subject to forfeiture, pursuant to Title 21, United States Code, Section
982(a)(1);

WHEREAS, in his plea agreement, the defendant agreed to entry of a forfeiture money

judgment in the amount of $50,000,000.00 in satisfaction of any potential forfeiture for conduct
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occurring to prior to entry of the defendant’s guilty plea in this matter, but subject to the credits
described herein;

WHEREAS, subject to accepting the plea agreement pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(C), this Court preliminarily determines, based upon the evidence and
information before it including the plea agreement and accompanying statement of facts, that any
property, real or personal, involved in the offense alleged in Count Eleven, and any property
traceable to such property, is subject to forfeiture pursuant to Title 18, United States Code, Section
982(a)(1), and that a personal money judgment against the defendant is appropriate, as set forth
below;

WHEREAS, subject to accepting the plea agreement pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(C), this Court preliminarily determines, based upon the evidence and
information before it including the plea agreement and accompanying statement of facts, that entry
of a forfeiture money judgment against defendant and in favor of the United States in the amount
of $50,000,000.00 (subject to the credits described herein) is appropriate insofar as this property
is subject to forfeiture pursuant to Title 18, United States Code, Section 982(a)(1);

WHEREAS, in the plea agreement, the defendant waives any claim to the funds listed in
the chart below, which total $4,521,033.59 (“the credited funds”), and agrees not to contest the

judicial forfeiture of these funds:

 

 

 

 

 

 

 

 

 

BANK AMOUNT ENTITY ORIGINATOR OR
BENEFICIARY _|

Deutsche $62,328.00 Grupo Arosfran Originator

Deutsche $40,592.00 Grupo Arosfran Originator

Deutsche $18,424.20 Grupo Arosfran Beneficiary

Deutsche $489,665.00 Grupo Arosfran Originator

 

 
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Deutsche $100.00 Grupo Arosfran Originator
Deutsche $8,850.00 Grupo Arosfran Originator
Wells Fargo $460,800.00 ICTC Originator
SGBL USA $4,262.50 ICTC Originator
The Bank of New $2,503,498.00 Grupo Arosfran Originator
York Mellon
Citibank $149,950.00 Leaders of Supply Beneficiary
, and Products SAL
Off-Shore
JP Morgan Chase $119,970.00 Leaders of Supply Beneficiary
Bank and Products SAL
Off-Shore
Citibank $55,414.18 Golfrate Holding Originator
Angola Lda
Wells Fargo $4,000 Afri-Belg Angola Originator
Lda
Wells Fargo $20,000 Afri-Belg Angola Originator
Lda
Standard Chartered | $3,291.32 Grupo Arosfran Beneficiary
Bank
Standard Chartered | $121,700.00 Grupo Arosfran Originator
Bank
Standard Chartered | $3,000 Sicam Originator
Bank
Standard Chartered | $10,150 Sicam Originator
Bank
Bank of America $445,038.39 Epsilon Trading Originator
FZE .

 

 

 

 

 

WHEREAS, the Government has agreed to apply the total amount of the credited funds,

which is $4,521,033.59, toward the forfeiture money judgment issued by this Court if and only
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if the Defendant has made prior payment to the Government of the remainder of the forfeiture
amount, which is $45,478,966.41;

_ WHEREAS, the plea agreement specifies that a forfeiture payment of $45,478,966.41 will
be paid to the Government from an attorney trust account held by Zuckerman Spaeder LLP, in
advance of sentencing;

WHEREAS, on November 16, 2018, the U.S. Department of the Treasury, Office of
Foreign Assets Control (“OFAC”) issued license number SDGT-2018-358008-1. (attached as
Exhibit A). That license authorizes Zuckerman Spaeder LLP, and any related U.S. person involved
in this forfeiture transaction, to receive funds from outside the United States in the amount of
$45,478,966.41, plus any amount necessary to cover transfer and banking fees. The license further
authorizes Zuckerman Spaeder LLP to disburse $45,478,966.41 from its trust account to the U.S.
Department of Justice;

WHEREAS, OFAC license number SDGT-2018-358008-1, authoriz[es] all transactions
related to the receipt and disbursement of funds, as related to the plea agreement in United States
v. Tajideen, 17-cr-00046 (RBW).” .

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

1. Subject to this Court accepting the plea agreement pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(C), a forfeiture money judgment in the amount of $50,000,000.00 is
entered against defendant and in favor of the United States. As set forth in the plea agreement,
dated November 23, 2018, the $50,000,000.00 forfeiture money judgment satisfies any potential
forfeiture to the government by the defendant and the Related Individuals and Entities! for

conduct occurring prior to entry of the guilty plea in this action.

 

’ Related Individuals and Entities are defined in the Section II] of the plea agreement.
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2. Upon payment to the United States Government of $45,478,966.41, the credited
funds shall be credited toward the forfeiture money judgment.

3 The Court shall retain jurisdiction to enforce this Order, and to amend it as
necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure.

4. Because the defendant has agreed to satisfy the $50,000,000.00 forfeiture judgment
before sentencing, and the parties have agreed to move jointly to postpone sentencing for up to
180 days if necessary to allow the defendant to make that payment in advance of sentencing, this
Court determines that no discovery is proper in advance of sentencing under Federal Rule of
Criminal Procedure 32.2(b)(3). However, if this Court accepts the plea agreement pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(C), the defendant fails to satisfy the forfeiture
judgment in advance of sentencing, and the government elects to waive that provision of the plea
agreement without otherwise modifying the parties’ plea agreement, then this Court will authorize
the Attorney General or a designee to conduct any discovery pursuant to Rule 32.2(b)(3) that this
Court considers proper to identify, locate, or dispose of property subject to this Order at that time.

Ds The Clerk of the Court shall forward a certified copy of this Order to

joseph.palazzo@usdoj.gov.

Dated this yr day of hi Ly wf _, 2018.

  

Waal i heh a

HONORABLE REGGIE B. WALTON
UNITED STATES DISTRICT JUDGE
By:

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WE ASK FOR THIS:

JESSIE K. LIU
United States Attorney
D.C. Bar No. 472845

‘fs/_ Thomas A. Gillice,

D.C. Bar No. 452336

Luke Jones, VA Bar No. 75053 Karen P.
Seifert, NY Bar No. 4742342 Assistant
United States Attorneys Jacqueline L.
Barkett, NY Bar No. 5424916

Special Assistant United States Attorney
National Security Section

United States Attorney’s Office

555 4" Street NW, 11" Floor
Washington, D.C. 20530

(202) 252-1791

thomas. gillice@usdoj.gov
luke.jones@usdoj.gov
karen.seifert@usdoj.gov
jacqueline.|.barkett@usdoj.gov

and

DEBORAH L. CONNOR
Chief, Money Laundering and Asset Recovery Section

/s/_ Joseph Palazzo, MA

Bar No. 669666 Trial

Attorney

Money Laundering and Asset Recovery
Section, Criminal Division

United States Department of Justice

1400 New York Avenue NW, 10" Floor

Washington, D.C. 20005

(202) 514-1263

joseph.palazzo@usdoj.gov

 

William W. Taylor, III, Esquire
Counsel for Defendant

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